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devised is one that can only be applied to nonvoting rights          redistricting. The Criteria Resolutions listed six criteria used
districts." He stated that those considerations "are not present     to draw the districts in the 2011 Plan.
in any of the [C]hallenged [D]istricts except for House
District 72," which shares asmall border with aVRA district          *439     Additionally, the parties stipulated to letters from
in the Enacted Plan, but not in Alternative Plan 1.                  Governor Robert F. McDonnell regarding his veto of the
                                                                     original 2011 redistricting plan, H.B. 5001, and his signing
Dr. McDonald acknowledged that there was "no universal               of H.B. 5005, Va. Gen. Assem. (Spec. Sess. 2011), which
measure of what constitutes the best measure for compact
                                                                     established the 2011 Plan. 6
districts," and that "[un the social science community, there's
no threshold for when adistrict is compact or noncompact"
using these measures. He stated that a difference of 0.01              C. Motion to Strike
or 0.02 in compactness scores, and even a difference of              At the conclusion of the Challengers' evidence, the Board
0.03, was not "a large difference." On cross-examination, he         and the House moved to strike, on the grounds that the
conceded that he had not previously used or published the            Challengers failed to present evidence to support their claims
predominance test, and was not aware of another expert, court        that   compactness   was ignored and that the Challenged
opinion, or state using the "predominance test" that he used         Districts were not compact. Instead, the Challengers only
to develop degradation percentages regarding compactness of          presented "their new compactness test and the alternative
the legislative districts.                                           maps that it's based on." They argued that the Challengers'
                                                                     evidence showed that compactness was considered, and that
                                                                     the "legislature's value judgment of the relative degree of
  B. Stipulations
                                                                     compactness required, when reconciling multiple concerns
The parties stipulated to the number of counties, cities, and
                                                                     of apportionment, is fairly debatable." The Challengers
precincts split in the 2001 and 2011 redistricting plans, as well
                                                                     responded that their evidence showed that the districts were
as in Alternative Plans Iand 2developed by Dr. McDonald.
                                                                     not constitutionally compact because discretionary factors
They stipulated to the compactness scores for the 2001 and
                                                                     predominated over the    **746   constitutional requirement of
2011 redistricting plans, as well as the scores for the districts
                                                                     compactness. The court denied the motions to strike.
in Dr.   *438   McDonald's Alternative Plans Iand 2. They also
stipulated to the Reock, Polsby-Popper, and Schwartzberg
compactness      **745       scores of the districts challenged in     D. Evidence Presented by the Board and the House
Jainerson v. Womack, 244 Va. 506, 423 S.E.2d 180 (1992),             The Board presented evidence concerning the Senate districts
and Wilkins V. West, 264 Va. 447, 571 S.E.2d 100 (2002),             from the 2011     Plan, and the House presented evidence
because the scores were not reported in those opinions. Based        concerning the House districts from the 2011 Plan. The
on these scores as stipulated, the lowest Reock score in the         Board moved into evidence floor speeches from several
relevant legislative districts was 0.12 in .Jainerson and 0.16       Senators during the 2011 redistricting process. The Senators
in Wilkins, and the lowest Polsby-Popper score in both cases         stated that H.
                                                                                  B. 5001      "meets all federal and state legal
was 0.10. For the Challenged Districts, the lowest Reock             requirements," and that "all districts are contiguous and
score was 0.15 (SD 28), and the lowest Polsby-Popper score           compact in accordance with the constitution of Virginia as
was 0.08 (SD 28 and HD 72). The Reock scores of all                  interpreted by the Virginia Supreme Court in the cases *440
of the Challenged Districts exceeded the minimum score               of Jainerson i JJ'o,nack and Wilkins v. West." Senators also
in Jarnerson, and the Polsby-Popper scores of nine of the            made similar comments regarding H.B. 5005 and the Enacted
eleven Challenged Districts exceeded the minimum score in            Plan. Senator Jeremy S. McPike (Senator McPike) of the
Jamerson and Wilkins.                                                29th Senate District testified that it was not hard for him to
                                                                     travel around his district, and that, during the campaign, the
The parties also stipulated to documents submitted by the            "shape or geographic extent of [his] district" did not cause any
Attorney General of Virginia to the Department of Justice for        problem in communicating with constituents because "[m]ost
preclearance under the VRA, which used the Reock, Polsby-            of it's social media now."
Popper, and Schwartzberg measures, and to the Criteria
Resolutions adopted by the House and the Senate of Virginia          Dr. M.V. "Trey" Hood, ITT (Dr. Hood) testified as an expert
(Senate) (collectively, General Assembly or legislature)             for the Board. He stated that there was no consensus         on

Privileges and Elections Committees regarding the 2011



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    the best measure of compactness or athreshold for when              drawing process, including equal population, the VRA, and
    a district was not compact, and that the different scores           communities of interest. He stated that he did not believe that
    "measure compactness in different ways," but he does not            the VRA districts could be treated differently in terms of being
    average different types of compactness scores. Dr. Hood             compact and contiguous as required by the Constitution of
    stated that there was adecrease in the average compactness          Virginia.
    scores overall from the 2001 plan to the 2011 Plan, but the
    decline in compactness did not "on its face, mean that these         **747 Delegate Jones testified that he believed that the 2011
    districts are necessarily uncompact."                               Plan complied with the Criteria Resolutions regarding priority
                                                                        of constitutional considerations over discretionary factors. He
    Dr. Hood listed among his "criticisms" of Dr. McDonald's            stated that priority was given to state constitutional criteria,
    approach    that    he   should   have     compared   the   whole   and that, "if there was an actual conflict between compactness
    redistricting plan to       other plans,    rather than   compare   and [discretionary criteria]," compactness prevailed.
    district-to-district, because the districts "are not drawn in
    isolation from one another" and because the districts in the        On cross examination, Delegate Jones testified that, during
    alternative plans and the 2011 Plan did not exactly overlap         the 2011 redistricting process, he would draw a map, and
    geographically. so "sometimes it's not easy to compare one          Oldham and Morgan "would look at the compactness and
    district from one plan to another district from another plan."      contiguity scores" with Reock and Poisby-Popper measures.
    His "criticisms" also included that Dr. McDonald should not         He said that he "was confident that the map that Ihad drawn,
    have averaged compactness scores, and that there "could be"         the districts that were there that were contained within, met
    another Alternative Plan 1, although neither he nor anyone          the criteria for compactness and contiguity per" Wilkins and

    else had proposed such aplan.      Dr. Hood also had "questions     Jamerson.

    about how this [the predominance test] would actually be
    implemented if it was ever put in place," because there would       Delegate Jones asserted that the criteria of compactness was
    be "a fight" in the legislature over drawing alternative plans,     "never subordinated," because the "top three criteria [the

    because there is "no best way" to "completely maximiz[e]            federal Constitution, Constitution of Virginia, and the VRA]
U   compactness." Also, he claimed Dr. McDonald did not                 always were met within the range established by Wilkins." He

    account for how the legislature would attempt to balance all        stated that "my assumption is that when we ran the plans, that

    of the factors involved in redistricting.                           if ascore was better than [the score] that was affirmed by the
                                                                        Supreme Court [in Janierson and Wilkins], then we would
    The House then presented its evidence. Delegate Chris Jones         be in agood state," but   *442   he "did not bother myself with

    (Delegate Jones) testified that he was the chief patron of          that information. Iwas more drawing the districts." The court
    the 2011 redistricting legislation in the House, and he was         clarified that Delegate Jones was "assuming there was some
    also an architect    *441    of the 2001 redistricting plan. He     numerical score from those compactness tests, and you just
    stated that there was a"very similar" increase in population        relied on counsel to tell you that you were meeting them."
    in both the 2000 census that informed the 2001 plan (a "13
    or 14 percent population increase") and the 2010 census that        Morgan testified that he worked with Delegate Jones in the

    informed the 2011 Plan ("about a 13 percent increase in             2011 redistricting using the House Criteria Resolution. He
    population"). He explained that he thought the districts in the     stated that compactness was "implemented" in the 2011 Plan
    2011 Plan were more compact than those in the 2001 plan.            because they ran "compactness reports" using the Reock and

    For example, even though the compactness scores showed              Polsby-Popper measures, and the compactness scores "were

    that HD 13 was less compact in 2011 than it was in 2001,            within the acceptable range as defined by the Jainerson and
    he explained that, "[f]rom [my] perspective," it was more           Wilkins cases." He stated that compactness was not ignored

    compact in 2011, because both the population and geographic         or given pro forma consideration, but that it was "looked at

    area of the district were reduced, and "because of the ease of      during the process" in 2011.

    going back and forth between the districts."
                                                                        Dr. Thomas B. Hofeller (Dr. Hofeller) testified as an expert

    Delegate Jones stated that the House hired John Morgan              in redistricting who had been in the fields of redistricting

    (Morgan) and Dale Oldham (Oldham) to assist in the 2011             and census information for nearly 50 years, and had drawn
    redistricting, and explained the criteria he used in the map        or advised the drawing of hundreds of redistricting maps




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in "almost all the states." He compiled the minimum and                        determined that the legislative determination regarding the
maximum compactness scores for all of the districts in                         compactness of the Challenged Districts was fairly debatable
Virginia's 1991, 2001, and 2011              plans, and stated that            and upheld the constitutional validity of the Challenged
"Jainerson and Wilkins spoke to      ...   the minimum scores of the           Districts.
districts that [] complied with the compactness criteria in the
state constitution. So it forms afloor. You can characterize it
as afloor."
                                                                                                        ANALYSTS

Dr. Hofeller stated that he did not think that Dr. McDonald's                  The Challengers assert that the circuit court erred in finding
test is "a proper and useful way to determine compliance"                      that the evidence presented to it was sufficient to support
with the compactness requirement. He stated that Dr.                           its conclusion that the constitutionality of the General
McDonald's test was done six years after the redistricting, so                 Assembly's redistricting decision regarding each of the
his report "could have never related to the processes of one                   Challenged Districts was fairly debatable. In other words,
[redistricting] unfolding." He also opined that Dr. McDonald                   the Challengers claim that the evidence they presented to
"kind of snatched complexity out of the jaws of simplicity                     the circuit court established that the General Assembly
here with regard to what the General Assembly was trying                       subordinated the required      criterion   of compactness to
to do," which was to "pick[ ]out astandard by which they                       discretionary criteria, and that such evidence proved that
felt they were compliant with the constitutional requirement                   no objective and reasonable person could conclude that the
for compactness, and that was the floor that was established                   Challenged Districts were not in violation of the compactness
in Janierson and Wilkins." He noted that Dr. McDonald's                        requirement of Article IT, §6of the Constitution of Virginia.
test was not peer reviewed. He also stated: "I think that the                  We disagree.
elimination ofthe minority districts is inappropriate," because
there was a"rather subjective treatment" by Dr. McDonald                        *444 Article II. §6of the Constitution of Virginia provides
to draw the alternative districts around the existing VRA                      that electoral districts are "established by the General
districts.                                                                     Assembly." The exercise of that power clearly encompasses
                                                                               the drawing of legislative districts. As recited above, the
 *443    On cross examination, Dr. Hotelier acknowledged                       districts in the General Assembly's 2011 Plan were codified
that Alternative Plans 1and 2 were not presented as plans                      in Code §24.2-303.3 and Code §24.2-304.03.
that the legislature should adopt. He acknowledged that Dr.
McDonald did not purport to create abright line test, and that                 Established principles govern our determination whether
neither Dr. McDonald nor anyone else had created abright                       the General Assembly has adhered to the Constitution in
line score for compactness. He agreed that the constitutions                   exercising its legislative power. Redistricting legislation
trump "[w]hatever else the legislature        ...   chooses to add to that     is subject to "the principles applicable to our review of
[which] is within its discretion."                                             legislative determinations." Wilkins, 264 Va. at 462, 571
                                                                               S.E.2d at 108. The first such principle is that every law
After the close of the evidence, the court overruled a                         enacted by the General Assembly "is entitled to a strong
previously filed motion in lijuine regarding Dr. McDonald's                    presumption of validity and will be invalidated by the
testimony. 8   The    **748    circuit         court      stated   that   it   courts only if it clearly violates aconstitutional provision."
would consider the predominance test and Dr. McDonald's                        Id. (citation and internal quotation marks omitted); City of
conclusions. The court noted that it disagreed with Dr.                        Newport Neirs      Eli;abeth City Cry., 189 Va. 825, 839, 55
Hotelier's assertion "that the Supreme Court of Virginia                       S.E.2d 56, 64(1949).
has ever established a constitutionally required minimum
compactness score for measuring the priority given to                          The party challenging an enactment has the burden of proving
compactness in drawing legislative districts." The court also                  that the statute is unconstitutional, and every reasonable doubt
stated that the standard expressed in Wilkins and Jainerson                    regarding the constitutionality of alegislative enactment must
"requires that if the evidence offered by both sides of the                    be resolved in favor of its validity. Mai-shall v Northern
case would lead reasonable and objective persons to reach                      Va. Transp. Authority 275 Va. 419, 428, 657 S.E.2d 71,
different conclusions, then the legislative determination is                   75 (2008); Hess v. Snyder Hunt Corp., 240 Va. 49, 53,
'fairly debatable' and must be upheld." The circuit court                      392 S.E.2d 817, 820 (1990). See Blue Cross of Virginia




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 v Commonwealth, 221 Va. 349, 358-59, 269 S.E.2d 827,                 what degree of compactness best serves local needs, with the
 832-33 (1980); see also In re Phillips, 265 Va. 81, 85-86,            institution best informed to make that decision.
 574 S.E.2d 270, 272 (2003). Further, in determining the
 constitutionality of aGeneral Assembly enactment, we must            Although whether avoting district is "compact" isjusticiable,
give the Constitution a liberal construction in favor of              it is a question of "fact" triggering the "fairly debatable"
sustaining the enactment in question, if practicable. Marshall,       standard. See Jamerson, 244 Va. at 509-10,423 S.E.2d at 182.
275 Va. at 428, 657 S.E.2d at 75; Heublein, Inc. v. Department
ofAlcoholic Beverage Control, 237 Va. 192, 195, 376 S.E.2d
77,78 (1989).
                                                                                      When the constitutionality of astatute
                                                                                      depends on facts, the determination
Here,    we     are   only   concerned   with     the   compactness
                                                                                      of those facts by the legislature can
requirement stated in Article TI,      §6 of the Constitution                         be set aside if it is clearly erroneous,
of Virginia. Article II,     §6 of the Constitution of Virginia                       arbitrary, or wholly unwarranted. If
provides that legislative districts "shall be composed of
                                                                                      the evidence offered in support of the
contiguous and compact territory." The Challengers allege
                                                                                      facts in issue would lead objective
that the Challenged Districts were clearly drawn in violation
                                                                                      and reasonable persons              to    reach
of the compactness requirement in Article II, §6.                                     different conclusions, the legislative
                                                                                      determination     is   considered fairly
Compactness is asomewhat abstract concept. Determining
                                                                                      debatable and such a determination
compactness does not admit to a bright line approach
                                                                                      must be upheld by the courts.
in determining        *445   whether a legislative district is,
in   fact,   compact.   As    attested to   by the Challengers'
expert. Dr. McDonald, social scientists have developed at
                                                                       *446 Wilkins, 264 Va. at 462, 571 S.E.2d at 108 (emphasis
least 50 different methods of measuring compactness. The
                                                                      added).
proliferation of measures does not provide clarity. It does
 **749 exactly the opposite. In the social science community,
                                                                      Specifically,
there is no universal definition or consensus as to what
constitutes the best measure for compact districts.

                                                                                      if the validity      of the legislature's
In   addition    to   statistical   compactness     measures,   the
                                                                                      reconciliation of various criteria is
record demonstrates that policymakers and citizens define
                                                                                      fairly   debatable     and    not        clearly
compactness in avariety of ways. Delegate Jones testified
                                                                                      erroneous,     arbitrary,      or        wholly
to his spatial and political assessment of compactness, which
                                                                                      unwarranted, neither the court below
included consideration of geographic size, ease of travel and
                                                                                      nor this     Court can       conclude       that
representation, and communities of interest. Also, in vetoing
                                                                                      the resulting electoral district fails
the initial redistricting bill (H.B. 5001), Governor McDonnell
                                                                                      to comply with the compactness and
linked compactness not only to statistical compactness scores
                                                                                      contiguous requirements of Article 11,
but also to the number of localities split between districts and
                                                                                      §6.
to "a plain visual examination of the districts."


In Wilkins and .Jan,erson, we have held that courts must "give
proper deference to the wide discretion accorded the General          Id. at 463, 571 S.E.2d at 108.

Assembly in its value judgment of the relative degree of
compactness required when reconciling the multiple concerns           Accordingly, our decisions in Janierson and Wilkins do not

of [redistricting]." Jamerson, 244 Va. at 517, 423 S.E.2d at          vest the judiciary with authority to establish a standard of
186. We have stated that redistricting is, in asense, political.      compactness in the first instance; rather, our role is to "review

Id. at 510, 423 S.E.2d at 182. Thus, giving the General               legislative determinations of fact" regarding compactness

Assembly the opportunity to determine the relative level              to ensure that they are not "clearly erroneous, arbitrary,
of compactness in the first instance places the decision, of          or wholly unwarranted." Jamerson, 244 Va. at 510, 423
                                                                      S.E.2d at 182. Thus, our precedent requires our courts to



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give the General Assembly deference and wide discretion              Districts   are   clearly   in     violation    of the     compactness
in determining compactness of legislative districts. However,        requirement expressed in Article IT, §6.
the judiciary has the authority and obligation to intervene
when an abuse of that discretion is shown by a grave,                The Challengers' theory that Dr. McDonald's testimony
palpable, and unreasonable deviation from the principles             clearly proves there was a violation of the compactness
fixed by the Constitution. Id. at 510, 423 S.E.2d at 182. In         requirement in Article 11,             § 6 faces several     challenges.
considering the validity of redistricting statute, we have said      Notably, it is based upon the measure of a requirement,
that "when fair-minded men[,] from an examination of the             predominance, that is not found in our Constitution, and it
[redistricting,] can entertain no reasonable doubt that there is a   does not account for the discretionary factors the legislature
grave, unnecessary, and unreasonable [error], the Constitution       balances when drawing districts; it relies on measurements
has been violated and it is the duty of the court to so declare."    (statistical scores) that do not have a universally accepted
Id. (citation, alteration and internal quotation marks omitted).     meaning; and the test devised by Dr. McDonald is novel and
                                                                     unproven.
In addition, as an appellate court, we also "must give proper
deference" to a circuit court's resolution of disputed facts,        First. Dr. McDonald's approach assumes that evaluating
if supported by credible evidence. We must consider the              compactness involves considering whether discretionary
evidence and all reasonable inferences that can be drawn             factors predominated over other factors. This assumption
therefrom in the light most favorable to the parties who             has no support in the text of the Constitution nor from
prevailed before the circuit court. Jcnnerson, 244 Va. at 517,       precedents in Virginia law. To the contrary, our Court has
423 S.E.2d at 186.                                                   previously stated that "any purpose that may underlie the
                                                                     design of an electoral district, while relevant to challenges
The Challengers had the initial burden to show "probative            under other portions of the Constitution *448 of Virginia
evidence of unreasonableness," and the legislature could             is not determinative in a challenge based on Article II,                §
respond to that showing with evidence that its actions **750         6." Wilkins, 264 Va. at 462, 571 S.E.2d at 108. Instead,
were reasonable. See *447 Board of Supervisors v. Jackson,           "[d]eterminations of contiguity and compactness, as we said
221 Va. 328, 333, 269 S.E.2d 381, 384-85 (1980). At that             in Jarnerson, are limited to consideration of the district from
point, "[i]f such evidence of reasonableness is sufficient to        aspatial perspective, taking into consideration the other facts
make the issue fairly debatable, the legislative action must         that alegislative body must balance in designing adistrict."
be sustained." Id. at 333, 269 S.E.2d at 385. Thus, the key          Wilkins, 264 Va. at 462, 571 S.E.2d at 108. The proper
question that must be answered in resolving this appeal              inquiry is whether the resultant district is, in fact, compact.
is simply whether the legislature's determination, that the          In making that determination, our precedent has recognized
Challenged Districts are in fact compact, is fairly debatable.       that "traditional [discretionary] redistricting elements not
If so, the circuit court's judgment must be affirmed.                contained in the statute         ...   are also legitimate legislative
                                                                     considerations." Id. at 464, 571               S.E.2d at 109. Where
In   support   of their   claim,   the   Challengers   presented     there is evidence that the General Assembly considered the
Dr. McDonald's expert testimony. He testified about a                constitutional requirement of compactness in reconciling the
predominance test that he devised for this litigation. Applying      different demands upon it in drawing legislative districts,
his test, Dr. McDonald concluded that the composite district         deference is given to the General Assembly in its value
compactness scores (using the Reock and Polsby-Popper                judgment as to the relative degree of compactness required.
measures) of each of the Challenged Districts had been               Jamerson, 244 Va. at 517, 423 S.E.2d at 186.
"degraded" by more than 50 percent from the compactness
score of an alternative district drawn to be as compact as           It is also important to note that, contrary to acore premise
possible, without consideration of any discretionary criteria.       in Dr. McDonald's test, the Constitution of Virginia does
Based upon the results of his test, lie opined that the General      not require districts to be as compact as possible.                Article
Assembly subordinated the constitutional requirement that            II, §6 simply requires that districts "shall be            ...   compact."
the districts be compact to other discretionary considerations       See,    **751     e.g., Wilkins, 264 Va. at 466, 571 S.E.2d at
in drawing the Challenged Districts. The Challengers rely            110 (observing that "nothing in this record indicates that
upon   that opinion as their evidence that the Challenged            the District is repugnant to the constitutional principles of
                                                                     compact and contiguous electoral districts," even though the




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 district was "far from the most compact district"). As the           present "some     *450   evidence of reasonableness," and the
 Board observed, the compactness requirement is not based on          evidence need not establish the government's position by a
 the same type of objective comparative inquiry as the equal         "preponderance of the evidence;" it is enough if "the evidence
population requirement.                                              offered in support of the opposing views would lead objective
                                                                     and reasonable persons to reach different conclusions." Ames
 Second, Dr. McDonald's approach depended solely on                  v. Town of Painter, 239 Va. 343, 348, 389 S.E.2d 702, 704
calculations of relative compactness using several common            (1990) (citation and internal quotation marks omitted).
compactness score measures. It is undisputed that there is no
accepted   *449   bright-line test or score in the social sciences   The Board and the House countered the Challengers' case
for when adistrict can no longer be considered "compact."            with extensive evidence that the Challenged Districts were
Dr. McDonald acknowledged that there is "no universal                reasonable, including testimony and statements from the
definition of what constitutes the best measure for compact          individuals who crafted the 2011 Plan and experts who
districts," and that "[i]n the social science community, there's     disagreed with and challenged Dr. McDonald's opinions
no threshold for when adistrict is compact or noncompact."           regarding compactness. For purposes of this appeal, that
Our decisions in Jainerson and Wilkins do not purport to adopt       evidence is viewed in the light most **752 favorable to the
a bright-line standard indeed, those opinions do not even            Board and the House, the prevailing parties at trial.
recount the compactness scores ofthe districts upheld therein.
However, the record indicates that the districts challenged in       The evidence produced by the House and the Board showed
this case all have Reock scores exceeding the lowest score for       that compactness was considered by the General Assembly
adistrict upheld in Janierson and within 0.01 of the lowest          during the redistricting. Both the House and the Senate
score upheld in Wilkins. Nine of the Challenged Districts            adopted criteria for the 2011        redistricting that included
have Polsby-Popper scores greater than or equal to the lowest         compact and contiguous" districts under Article II,          §6
score for districts upheld in Janierson and Wilkins. Two of the      and consistent with Wilkins and Jainerson. Several of the
Challenged Districts (HD 72 and SD 28) have Polsby-Popper            floor speeches and other exhibits introduced into the record
scores which are 0.02 below the lowest score for adistrict           mentioned compactness. Morgan and Delegate Jones testified
upheld in those cases. However, Dr. McDonald agreed that             that they checked the compactness scores of districts as
a0.02 difference is not "a large difference" and generally is        they were creating the 2011 Plan against scores of the
not meaningful. Thus, compactness scores for the Challenged          districts approved in Wilkins and Jamerson. At trial, the
Districts were at least approximately the same or greater than       defense presented testimony from two experts about the
the scores of districts previously found to be constitutionally      2011 redistricting and compactness—Dr. Hood regarding
compact.                                                             the Senate districts, and Dr. Hofeller regarding the House
                                                                     districts. Both experts agreed that all of the Challenged
Third, Dr. McDonald's predominance test was admittedly               Districts were sufficiently compact.
novel and created for this case. He conceded that the
predominance test had not previously been used or published,         Both experts also cast doubt upon the validity of Dr.
and he was not aware of any other expert, court opinion              McDonald's predominance test. Dr. Hofeller testified that
or state using the "predominance test" that he used to               the predominance test was not aproper and useful way to
develop degradation percentages regarding compactness of             assess compliance with the compactness requirement. He
the legislative districts. Dr. McDonald admitted that the entire     faulted the test's lack of foundation, noting that it lacked
question the new test purports to answer—whether other               peer review, exposure, supporting *451           research, and use
redistricting criteria predominated over compactness—"is not         during an actual redistricting. Dr. Hofeller also testified that
a question that I've ever seen in any legal or scholarly             the low level of overlap between the enacted and alternative
writings that are out there." Consequently, the predominance         districts meant the new test compared apples to oranges.
test has no supporting basis in social science scholarship or        He questioned the complexity added by the new test and
redistricting case law.                                              whether it could be applied within Virginia's compressed
                                                                     redistricting timeframe. Lastly, he opined that excluding
As noted above, the standard applicable at trial is highly           VRA districts from its application cast doubt on the validity
deferential to the government, even after achallenger meets          of the predominance test, because there "needs to be one
his prima facie burden. 10      The government need only             redistricting standard for all the districts."




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                                                                   or any other evidence, other than Dr. McDonald's opinion
                                                                   based upon statistical compactness scores, as abasis for their
Dr. Hood opined that any compactness test should be able
                                                                   assertion that the Challenged    **753     Districts violated the
to be applied to all the districts in a plan, and noted that
                                                                   compactness requirement.
the Challengers' new test admittedly could not be applied
to approximately 50 percent of the Senate districts, because
                                                                   Further, there was evidence that the legislature attempted to
those districts were either governed by the VRA or bordered
                                                                   reconcile discretionary considerations with the acknowledged
VRA districts. Dr. Hood also opined that the new test's
                                                                   requirement in Article!!, §6that the districts be compact. The
averaging of different compactness scores for adistrict was
                                                                   legislature's efforts to ensure that the compactness scores of
not atypical or recommended practice. Indeed, Dr. McDonald
                                                                   the districts in the 2011 Plan remained largely at or above the
admitted that he could not recall having averaged adistrict's
                                                                   scores of the districts approved by this Court in Jarnerson and
compactness scores before, and admitted that averaging could
                                                                   Wilkins, while not dispositive, are evidence that could lead
mask results on particular scores.
                                                                   reasonable people to find that the Challenged Districts were
                                                                   constitutionally compact. Even if the districts in the 2011 Plan
The circuit court accepted all the evidence from both sides
                                                                   were not as compact as they could have been, as we have
and, after weighing it, concluded that reasonable minds
                                                                   explained above, that is not what our Constitution requires.
would disagree as to whether the Challenged Districts are
                                                                   Our Constitution speaks to the result of the redistricting
sufficiently compact. Taken together, the evidence presented
                                                                   process, and mandates that districts be compact in the end.
by the Challengers and that presented on behalf of the
                                                                   It does not attempt to curtail the legislative process that
House and the Board was sufficient to establish that the
                                                                   creates the end result. Nor does it require that compactness be
constitutional validity of the Challenged Districts under the
                                                                   given priority over other considerations, much less establish
compactness requirement was fairly debatable.
                                                                   astandard to determine whether the legislature gave proper
                                                                   priority to compactness. Thus, there is evidence to support
The circuit court was not required to accept the opinion of Dr.
                                                                   the ruling that the determination of the General Assembly
McDonald as being true or accurate. Also, even if the circuit
                                                                   regarding compactness of the Challenged Districts is fairly
court accepted the correctness of Dr. McDonald's opinion
                                                                   debatable, and not clearly erroneous. arbitrary, or wholly
that his test measured the effect of discretionary criteria upon
                                                                   unwarranted, and we must uphold the legislature's decision to
compactness, the circuit court was not bound to accept the
                                                                   draw the Challenged Districts as it did.
Challengers' theory that proof that the General Assembly
subordinated the criterion of compactness to discretionary
criteria per se resulted in aclear violation of the compactness
requirement expressed in Article II, §6.                                                   CONCLUSION


The test that Dr. McDonald based his opinion upon was              The circuit court did not err in concluding that evidence

created for the purpose of this litigation and had never been      was presented at trial that would "lead reasonable and
                                                                   objective   *453   people to differ" regarding the compactness
used by *452 anyone before to measure "predominance"
and "degradation." It is based upon measures of compactness        of the Challenged Districts, and declaring the constitutional

and creates a rule regarding it although the creator of the        validity of the Challenged Districts under the fairly debatable

test concedes that there is no consensus on how to measure         standard applied to determinations made by the legislature.
                                                                   Accordingly, we will affirm the judgment of the circuit court.
compactness and there is no bright line demonstrating
when a district is compact and when it is not. Further,
it is undisputed that the compactness of the Challenged            Affirmed.

Districts is approximately equivalent to or better than that
of districts upheld in the past, as measured by widely used
                                                                   All Citations
compactness scores. Moreover, the Challengers offered no
direct evidence that the legislature ignored compactness,          295 Va. 427, 813 S.E.2d 739




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                                                             Footnotes


    I      After the 2011 redistricting, the Supreme Court of the United States ruled that preclearance by the Department
           of Justice under Section 5of the VRA is no longer determined by the coverage formula in Section 4(b) of the
           VRA. Shelby County v. Holder, 570 U.S. 529, 556-57, 133 S.Ct. 2612, 186 L.Ed.2d 651 (2013).

    2      By order dated March 23, 2018, the Hon. M. Kirkland Cox, current Speaker of the Virginia House of Delegates,
           was substituted for the Hon. William J. Howell as an appellee in this appeal.

    3      The Reock, Polsby-Popper and Schwartzberg tests are three different statistical calculations used by the
           social science community to measure the compactness of legislative districts. According to Dr. McDonald,
          the Polsby-Popper score "is aperimeter measure that compares the area of adistrict to the area of acircle
          with the same perimeter." The Reock score "is an area or dispersion measure that compares the area of a
          district to the area of the small circle that can be drawn around the district." The Schwartzberg measure "is a
           perimeter-based measure that uses asimplified version of the district's perimeter that is designed to smooth
           [out] the jaggedness in the perimeter of a district that may be caused by natural geography such as rivers
          or coast lines or sometimes the map drawer's choices." The Schwartzberg measure "then compares the
          simplified perimeter of the district to the perimeter of the circle with the same area as the original district." The
          Reock and Polsby-Popper measures range from 0to 1, with 1being the most compact. The Schwartzberg
          measure initially results in scores that increase from 1, but Dr. McDonald converted those scores to result
          in scores that are in the same range of 0to 1, with 1representing the most compact form. Dr. McDonald
          acknowledged that there are approximately 50 such measures developed and used by social scientists.
U   4     Dr. McDonald initially used a composite score of all three measures, but later he focused on composite
          scores based only on the Reock and Polsby-Popper measures, because those were the measures used by
          the legislature.

    5     Criteria Iwas that the "population of each district shall be as nearly equal to the population of every other
          district as practicable," within "plus-or-minus two percent" for the Senate and "plus-or-minus one percent" for
          the House, and Criteria II was to draw the districts in accordance with the VRA.

          Criteria Ill stated, in relevant part: "Districts shall be contiguous and compact in accordance with the
          Constitution of Virginia as interpreted by the Virginia Supreme Court in the cases of [Jamerson] and [Wilkins]."
          Criteria IV required that "[ajll districts shall be single-member districts," and Criteria V stated: "Districts shall
          be based on legislative consideration of the varied factors that can create or contribute to communities
          of interest," which "may include    ...   economic factors, social factors, cultural factors, geographic features,
          governmental jurisdictions and service delivery areas, political beliefs, voting trends, and incumbency
          considerations." Criteria VI stated the rules of priority:

            All of the foregoing criteria shall be considered in the [redistricting] process, but population equality among
            districts and compliance with federal and state constitutional requirements and the Voting Rights Act of
             1965 shall be given priority in the event of conflict among the criteria. Where the application of any of the
            foregoing criteria may cause aviolation of applicable federal or state law, there may be such deviation from
            the criteria as is necessary, but no more than is necessary, to avoid such violation.

          (Emphasis added.)

    6     Governor McDonnell vetoed H.B. 5001, noting, among other concerns, that "it is apparent that districts
          proposed in the Senate plan are not compact, as required in the Constitution of Virginia," and that "[u]sing
          the most commonly recognized tools of compactness scoring, the Reock and Polsby-Popper methods, the
                                              less                                               or Senate districts or other
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       plans that have been proposed." In astatement marking his signature of H.B. 5005, the Governor noted that
       the revised "plan retains more geographic and municipal boundaries, contains districts that are somewhat
       more compact, and passed the Senate on astrong bipartisan vote." The Governor acknowledged that "[w]hile
       additional improvements in measures of compactness and preservation of communities of interest would
       have been ideal, and no plan is perfect, the Constitution of Virginia tasks the General Assembly with drawing
       lines ......

7      Dr. McDonald acknowledged that he could not say that Alternative Plan Iwas "the most compact map," and
       agreed that "Alternative Plan 1is an ideal, not the ideal compactness plan for all purposes and all possibilities."

8      The ruling of the circuit court on the motion in limine to exclude Dr. McDonald's testimony is the subject of
       an assignment of cross-error filed in this appeal. However, we need not address that assignment of cross-
       error in resolving this case.

9      Unlike Virginia's general requirement that districts be "compact," other states provide specific standards for
       compactness, either by controlling the process of redistricting or the maps drawn as a result. For example,
       in Arizona, an independent redistricting commission begins the mapping process by creating "districts of
       equal population in a grid-like pattern across the state," and then making adjustments "as necessary to
       accommodate" enumerated goals, including that districts "shall be geographically compact and contiguous
       to the extent practicable." Ariz. Const. art. IV, pt. 2, §1. Colorado requires that "[e]ach district shall be as
       compact in area as possible and the aggregate linear distance of all district boundaries shall be as short as
       possible." Cob. Const. art. V, §47.

10     The Challengers assert that the circuit court found their prima facie burden of proof was met based upon the
       court's denial of the House and Board's motions to strike. However, at that stage of the trial, the Challengers
       enjoyed "all reasonable inferences drawn from the evidence in the light most favorable" to them. Izadpanah
       v. Boeing Joint Venture, 243 Va. 81, 82, 412 S.E.2d 708, 709 (1992). The presumption in the Challengers'
       favor, however, does not carry beyond that procedural stage, and they bore the burden at trial with no benefit
       of the doubt. Thus, prevailing on the motions to strike did not mean that the Challengers carried any burden
       relevant to the court's decision after trial on the merits. See Kiddell v. Labowitz, 284 Va. 611, 621 n.3, 733
       S.E.2d 622, 627 n.3 (2012) (explaining that denial of amotion to strike was not afinding that the non-moving
       party met its substantive burden).




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   VIRGINIA:

                  IN THE CIRCUIT COURT FOR IHE CITY OF RICHMOND

   RIMA FORD VESILIND, et aL          )
                         Plaintiffs   )
                                      )
   V.                                 )                         Case No. CL15003886
                                      )
   VIRGINIA STATE BOARD OF ELECTIONS, )
        etal.                         )
                       Defendants.    )


                                           STIPULATIONS

           For trial, motions, and all other proper uses and purposes in the above-styled case, the
   parties, by counsel, stipulate as follows. Anything not expressly stipulated or waived is reserved.

           1.     The parties stipulate to the authenticity of the population (including voting age
   populations) and racial data provided by the U.S. Census Bureau in P.L. 94-171, with the
   Bureau's subsequent correction of total population and alimited number of population subgroups
   concerning two census blocks in the Norfolk area for which the geocodes were incorrect. As this
   data does not appear in atraditional paginated form, the parties agree that it may be used at trial
   in avariety of formats such as charts or maps created from this data.

           2.       The parties stipulate to the authenticity of the Shape (shp) or Block Assignment
   (.txt)     files   found      on     the     Division     of     Legislative   Services   website:
   http://redislricting.dls.virginia.gov/2OlOfRedistrictingPlans.aspx.

           3.     The parties stipulate to the authenticity of the election return data made publicly
   available by the Virginia Department of Elections on http://www.elections.virginia.gov/. As this
   data does not appear in atraditional paginated form, the parties agree that it may be used at trial
   in avariety of fonnats such as charts or maps created from this data to the extent relevant to the
   court's consideration of any redistricting plan pertinent to this case.

           4.      The parties stipulate to the Reock, Poisby-Popper, and unadjusted Schwartzberg
   scores for the benchmark plan using 2000 census geography and for the enacted plans and
   Plaintiffs' Alternative Plans 1& 2using 2010 census geography, as generated in the Maptitude
   for Redistricting software's standard compactness report, copies of which are attached to this
   stipulation as Exhibits J2, J3, J4, J5, J6, J7, J8, and J9.

           5.      The parties stipulate that Exhibit J10 (0AG01094-01119) is atrue and accurate
   copy of tables and figures submitted into evidence in Wilkins v. West (which was captioned West
   v. Gili,zore when before the Salem Circuit Court). The parties fiuther stipulate that Exhibit Ji 1
   summarizes the Reock (Dispersion Compactness) and Polsby-Popper (Perimeter Compactness)
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scores from Exhibit J10 (0AG01094-01 119) for the districts at issue in Jainerson v. Womack,
244 Va. 506, 423 S.E.2d 180 (1992), and Wilkins v. West, 264 Va. 447, 571 S.E.2d 100 (2002).

        6.     The parties stipulate that the maps of each challenged district attached as Exhibits
J12 (house) and J13 (senate), which have been generated through the Maptitude for Redistricting
software, accurately reflect each district under the benchmark (using 2010 census geography)
and enacted plans.

       7.      The parties stipulate that the maps attached as Exhibits J14 and J15 which have
been generated through the Maptitude for Redistricting software, accurately reflect Plaintiffs'
Alternative Plans 1and 2.

       8.      The parties stipulate to the authenticity of the videos of House and Senate Floor
debates on all redistricting bills in 2011 as provided in discovery by the OAG via hand-delivery
on February 1, 2016 and contained in thirty-two (32) CD/DVDs (OAG 00244-245).

       9.    The parties stipulate to the authenticity of the transcripts and summaries of House
and Senate P&E Committee meetings and floor debates in 2011 as provided in discovery (OAG
00207-450).

      10.    The parties stipulate to the authenticity of the Criteria Resolutions adopted by
House and Senate P&E Committees in 2011 as provided in discovery (OAG 00944-945 and
VAH0D0005838-5839).

      11.   The parties stipulate to the authenticity of Gov. McDonnell's Veto letter
(VAHOD0000'114-446) and letter upon signing the redistricting legislation (\1AH0D0002279-
2281).

        12.     The parties stipulate to the authenticity of Division of Legislative Services
Reports            for          each            submitted           plan      listed         at
http://redistricting.dls.virginia.gov/2010/RedistrictingPlans.aspx#21,list.       For example:
http://redistricting.dls.virginia.gov/2010/Data/house%20p1ans/hb5005...passed_0428 1ihousepla
n/hb5005passed_0428 11_houseplan.pdf.

       13.    The parties stipulate to the authenticity of those preclearance documents
submitted by OAG to DOJ set forth in the attached Index.

        14.      The parties stipulate to the authenticity of Drawing the Line, the DLS papers on
redistricting in Virginia (DLS0000002-29 & DLS000003O-41).

        15.    The parties stipulate that the deposition and trial transcripts of Delegate Chris
Jones, Christopher Marston and John Morgan and the trial transcripts of Dr. Hood and Dr.
Hofeller from Golden Bethune-Hill et al. v. Va. State Bd. of Elections et al., E.D. Va. case no.
3: 14-cv-00852, are authentic and accurately reflect their testimony as transcribed by the court
reporter.




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           16.    The parties stipulate to the authenticity of the media-related documents produced
   in discovery with the Bates numbers OAG 00451-728; VAH0D0003924, 5954-5961, and 6120-
   6'141.

            17.   The parties stipulate to the authenticity of the County/City splits and precinct
   splits as noted in Maptitude reports for the benchmark plan using 2000 census geography, and
   for the enacted plan and Plaintiffs' Alternate Plans 1& 2using 2010 census geography, copies of
   which are attached to this stipulation as Exhibits J16, J17, J18, J19, J20, J21, J22, and J23.

         18.   The parties stipulate that the DLS compiled Incumbent Addresses                 and
   DLS0000498 and DLS0000SOS are authentic copies of that compilation.




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                               Respectfully submitted,




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                                    Respectfully submitted,




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                                       ofElections Edgardo Cortis in his official
                                       capacity




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   VIRGINIA:

                         IN THE CIRCUIT COURT FOR THE CITY OF RICHMOND

   RIMA FORD VESILIND, 91 al.
                            Plaintiffs
   V.                                                                Case No. CL15003886

   VIRGINIA STATE BOARD OF ELECTIONS, e1 al.
                         Defendants.



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                         Exhibit J2




                                                                     PDX-302.1O
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                             Exhibit J8




                                                                           PDX-302.31
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Plan Name:       HB 5005 House
Plan Type:
Date:            12/15/2016
Time:            5:02:28PM
Adminisator:




Measures of Compactness
12/15/2016


Sum                N/A            N/A         N/A
)&n               0.14           1.28        0.08
Max               0.62           3.35        0.55
Mean              0.36           2.00        0.24
Std. Dv.          0.12           0.35        0.09




                                           PoIsb-
DISTRICT          Rock    Sehwartzbrg      Popper


1                  0.26           1.69       0.30
2                  0.30          2.17        0.18
3                 0.28            1.84       0.21
4                  0.49           1.97       0.20
5                  0.19          2.29        0.17
6                  0.27           1.82       0.26
7                  0.50           1.81       0.25
8                  0.47           1.83       0.26
9                  0.35           1.83       0.24
10                 0.23          2.16        0.18
11                 0.59           1.80       0.26
12                 0.39           1.95       0.22
13                 0.16           2.53       0.13
14                 0.24           2.34       0.16
15                 0.55           1.52       0.34
16                 0.36           2.11       0.18
17                 0.25           2.95       0.09
18                 0.62           1.92       0.24
19                 0.43           2.09       0.17
20                 0.27           2.28       0.15
21                 0.42           1.74       0.31
22                 0.20           2.59       0.11
23                 0.26           2.25       0.15
24                 0.44           1.78       0.25
25                 0.26           2.14       0.18
26                 0.46           1.57       0.36
27                 0.35           1.92       0.25
28                 0.39           1.82       0.26
29                 0.36           1.98       0.21
30                 0.53           1.49       0.36
31                 0.38           2.11       0.19
32                 0.46           1.64       0.31
33                 0.33           1.89       0.23
34                 0.24           1.91        0.22
35                 0.20           2.11        0.19
36                 0.43           1.66        0.30
37                 0.18           2.24        0.18
38                 0.62           1.44        0.45
39                 0.35           2.16        0.19
40                 0.26           2.20        0.17


                                         EXHIBIT J8

                                                                                    PDX-302.32
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Plan Name:   RB 5005 House                  Administrator
Plan Type:                                  user.

                                                            Potsby-
DISTRICT          Reock      Schwartzb.rg                   Popper

41                 0.36             1.72                      0.32
42                 0.35             2.09                      0.20
43                 0.22             2.10                      0.21
44                 0.43             1.69                      0.32
45                 0.29             1.81                      0.26
46                 0.52             1.28                      0.55
47                 0.41             1.73                      0.33
48                 0.18             2.24                      0.16
49                 0.24             2.35                      0.16
50                 0.46             1.62                      0.34
51                 0.24             2.15                      0.18
52                 0.23             1.92                      0.25
53                 0.46             1.69                      0.34
54                 0.47             1.89                      0.25
55                 0.57             1.69                      0.28
56                 0.34             1.99                      0.22
57                 0.45             1.47                      0.41
58                 0.32             2.11                      0.19
59                 0.30             1.98                      0.21
60                 0.38             1.62                      0.31
61                 0.32             2.21                      0.17
62                 0.36             2.55                      0.13
63                 0.25             2.31                      0.16
64                 0.37             2.37                      0.16
65                 0.37             1.82                      0.27
66                 0.31             1.79                      0.27
67                 0.32             1.84                      0.25
68                 0.36             197                       0.23
69                 0.52             1.68                      0.34
70                 0.40             2.19                      0.19
71                 0.33             1.99                      0.24
72                 0.26             3.35                      0.08
73                 0.39             2.51                      0.15
74                 0.16             2.26                      0.12
75                 0.41             2.14                      0.19
76                 0.48             2.37                      0.17
77                 0.19             2.49                      0.15
78                 0.46             1.65                      0.35
79                 0.45             1.84                      0.26
80                 0.26             2.92                      0.11
81                 0.40             2.01                      0.23
82                 0.57             1.48                      0.45
83                 0.52             1.69                      0.34
84                 0.44             1.89                      0.26
85                 0.40             1.98                      0.24
86                 0.35             1.98                      0.25
87                 0.22             2.30                      0.17
88                 0.28             2.56                      0.13
89                 0.40             2.21                      0.20
90                 0.46             2.17                      0.20
91                 0.60             1.45                      0.47
92                 0.34             1.89                      0.26
93                 0.22             2.42                      0.16
94                 0.35             1.57                      0.38
95                 0.14             2.61                      0.14
96                 0.20             2.19                      0.17



                                                      EXHIBIT J8                                2


                                                                                                       PDX-302.33
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Plan Name:    RB 5005 House                  Administrator:
Plan Type:

                                                                Poisby-
DISTRICT           Reock      Sdhwartzborg                      Popper

97                  0.43             1.73                         0.21
98                  0.28             1.78                         0.26
99                  0.27             1.97                         0.21
100                 0.28             1.56                         0.37




                                                         EXHIBIT J8                                3


                                                                                                         PDX-302.34
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                             Exhibit J9




                                                                           PDX-302.35
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Plan Name:       HB 5005 Senate
Plan Type:
Date:            12/15/2016
Time:            5:20:30PM
Administrator:




Measures of Compactness
12/15/2016


Sum                N/A             N/A        N/A
Mitt              014             1.52        0.08
Max               0.46            3.23        0.39
Mean              0.27            2.38        0.16
Std. Dev          0.08            0.39        0.06




                                            Pokb
DISTRICT          Reock   Schwartzberg      Popper

1                  0.16           2.44        0.16
2                  0.23           2.47        0.15
3                  0.29           2.57        0.11
4                  0.33           2.09        0.18
5                  0.36           2.37        0.17
6                  0.30            1.74       0.30
7                  0.32           2.01        0.24
8                  0.30            1.52       0.39
9                  0.19           2.50        0.11
10                 0.30           2.62        0.13
11                 0.36           2.06        0.20
12                 0.46            1.89       0.23
13                 0.31           2.18        0.17
14                 0.24           2.64        0.13
15                 0.23           2.71        0.12
16                 0.31            2.93       0.10
17                 0.38           2.22        0.17
18                 0.31            2.62       0.13
19                 0.22           2.66        0.11
20                 0.20            2.72       0.12
21                 0.21            2.54       0.14
22                 0.35            2.16       0.18
23                 0.32            2.20       0.17
24                 0.23            2.27       0.15
25                 0.30            2.27       0.15
26                 0.43            1.70       0.28
27                 0.25            1.99       0.20
28                 0.15            3.23       0.08
29                 0.16            2.99       0.10
30                 0.21            2.81       0.10
31                 0.17            2.28       0.16
32                 0.25            2.30       0.17
33                 0.26            2.50       0.15
34                 0.31            2.31       0.16
35                 0.42            1.99       0.24
36                 0.21            3.08       0.09
37                 0.18            3.02       0.10
38                 0.21            2.27       0.15
39                 0.32            2.13       0.20
40                 0.14            2.39       0.15


                                          EXHIBIT J9

                                                                                     PDX-302.36
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Plan Name:   HB 5005 Senate                  Administrator.
Plan Type:                                   User:

                                                              Poisby-
DISTRICT           Reock      Schwartiberg                    Popper




                                                        EXifiBIT J9                               2


                                                                                                         PDX-302.37
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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

      ALPHA PHI ALPHA FRATERNITY
      INC., et al.,

             Plaintiffs,
                                                       CIVIL ACTION
      V.

                                                       FILE NO. 1:21-CV-05337-SCJ
      BRAD RAFFENSPERGER,

             Defendant.



                           EXPERT REPORT OF JOHN B. MORGAN


           Pursuant to 28 U.S.C. §1746, Fed. R. Civ. P. 26, and F.R.E. 702 and 703, I,

     JOHN B. MORGAN, make the following declaration:

            1.     My name is John B. Morgan. Iam over the age of 21 years, and Iam

     under no legal disability which would prevent me from giving this declaration. If

     called to testify, Iwould testify under oath to these facts.

           2.      Ihold aB.A. in History from the University of Chicago. As detailed in

     my CV, attached as Exhibit 1, Ihave extensive experience over many years in the

     field of redistricting. Ihave worked on redistricting plans in the redistricting efforts

     following the 1990 Census, the 2000 Census, the 2010 Census and the 2020 Census.

     Ihave testified as an expert witness in demographics and redistricting.
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       3.    Iam being compensated at arate of $325 per hour for my services in

this case.

       4.    The redistricting geographic information system (GIS) software

package used for this analysis is Maptitude for Redistricting 2021 from Caliper

Corporation. The redistricting software was loaded with the census PL94-171 data

from the Census Bureau and the census geography for Georgia. Iwas also provided

with election data files used by the Georgia General Assembly during the

redistricting process. The full suite of census geography was available, including

counties, places, voting districts, water bodies, and roads, as well as census blocks,

which are the lowest level of geography for which the Census Bureau reports
                                                                                         ('

population counts. Census blocks are generally bounded by visible features, such as

roads, streams, and railroads and they can range in size from acity block in urban

and suburban areas to many square miles in rural areas.

       5.    Ihave been asked to review the House of Representatives and State

Senate plans considered and adopted by the Georgia General Assembly and compare

them to the proposed House and Senate plans drawn by Mr. Cooper and offer

opinions regarding my analysis.




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        6.     As aresult of this analysis my opinion is that the Cooper 1205 Senate

 and House plans are focused on race, prioritizing race to the detriment of traditional

 redistricting factors.

                              Data utilized for analysis

        7.     Two House and two Senate plan were submitted for a preliminary

 injunction hearing, earlier in this case (I am designating these as P11 and P12 plans).

Mr. Cooper submitted an additional House and Senate plan in his expert report in

this case on December 5, 2022 (I am designating these as 1205 plans).

        8.     In preparing this analysis, Iwas given the block-equivalency files of

the Cooper plans as well as the block-equivalency files of the 2021 adopted plans

and incumbent databases used by the Georgia General Assembly during the

redistricting process. The incumbent databases list the address locations and districts

of the Representatives and Senators serving under the existing House (2015-enacted)

and Senate (2014-enacted) plans prior to the election of 2022.        Iwas also given

information on incumbents who were not intending to run for re-election to their

current offices in 2022.

       9.     Iloaded the 2021 House and 2021 Senate plans enacted by the Georgia

General Assembly into the Maptitude for Redistricting software using the block-

equivalency files provided.    Iloaded the Cooper P11 and PT 2 House and Senate



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plans and the 1205 Cooper House and Senate plans into the Maptitude for

Redistricting software using the block-equivalency files provided. Iloaded the prior

House (2015-enacted) and Senate (2014-enacted) plans into the Maptitude for

Redistricting software using files provided with software. Iloaded the associated

incumbent databases provided.

       10.   Using the Maptitude for Redistricting software, Iran seven reports for

each 1205 Cooper plan:

       1- Measures of compactness report,

       2- Districts & incumbents report,

       3- Population summary report,

       4- Political subdivision splits report,

       5- Plan component report,

       6- Core constituency report compared to P12 plan,

       7- Core constituency report compared to Enacted 2021 plan.

       11.   Each report is included in the exhibits to this report as Exhibits 2-15. I

 previously created these reports for the enacted plans that are included in my

 December 5, 2022 expert report. Ialso created population summary reports for the

 P1 plans.




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           12.    Ialso created aseries of maps comparing the 1205 plans and the enacted

     plans. These maps show atheme of AP-Black % on the voting districts and overlays

     of selected districts in the enacted plans and the 1205 plans for comparison. Each

     of these Senate maps us included in the exhibits of this report as Exhibits 16-40 and

     each of these House maps is included as Exhibits 41-62.

                                 State Senate Plan Analysis

           13.   Using the Population summary reports, Itallied the number of majority-

     Black districts using any-part Black voting age population (18+ AP-Black) for each

     Senate plan. The chart below shows the total number of majority-Black districts in



0
    the 2021 adopted Senate plan, the Cooper 1205 Senate plan and the Cooper P12

     Senate plan, as well as the number of districts in the percentage ranges using the

     any-part Black voting age population.




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Chart 1: Number of Majority-Black Senate Districts

                          Majority-Black Senate Districts

                            2021 Adopted        APA Cooper      APA Cooper
       % AP Black YAP           Plan             Illustrative   I1lustrative2
                                                     1205            P1
       Over 75%                    0                  1               1
       70%to75%                    3                 0                0
       65%to70%                    3                 1                1
       60%to65%                    3                 4                2
       55%to60%                    3                  3               3
       52%to55%                    1                  4               4
       50%to52%                     1                 5               8


       Total #Districts            14                18               19



       14.   The 2021 adopted Senate plan includes 14 majority-Black districts, the      (
Cooper 1205 Senate plan includes 18 majority-Black districts, and the Cooper P12

 Senate plan has 19 majority-Black districts.

       15.   The Core Constituency report comparing the Cooper Senate 1205 plan

to the Cooper Senate P12 plan (Ex. 7) shows that there are changes affecting many

 districts. The Senate plan drafted by Mr. Cooper (1205) has only one district (SD 10)

that is exactly the same as the plan submitted previously for the preliminary

 injunction hearing in this case (Cooper P12). Including SDI, there are 17 districts

 that share over 90% of the same territory as adistrict in the Cooper P12 plan and 27

 districts that share over 80% the same territory as adistrict in the Cooper P12 plan.



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 There are many differences between the Cooper 1205 Senate plan and the Cooper

 P12 Senate plan   -   with all the changes, one result is that the new Cooper 1205 Senate

 plan has one less majority-Black district than the P12 plan.

         16.   Looking more closely at the Cooper 1205 Senate plan, below is achart

 that summarizes top-line statistics about the plan and compares them to the enacted

 plan.

 Chart 2: Cooper 1205 Senate and Enacted Senate Plan comparisons

                                  Cooper       Enacted
  Plan metrics                  Senate 1205    Senate
  County splits                     28              29
  Voting precinct splits             43             47
  Mean compactness       -




  Reock                             0.43           0.42
  Mean compactness       -




  Polsby Popper                     0.28           0.29
  #Paired incumbents                  6             4
  #Seats majority
  18+ AP Blk%                        18             14
  Deviation relative             -1.00% to      -1.03% to
  range                            1.00%         +0.98%
  Deviation overall range          2.01%          2.01%



         17.   The changes from the Cooper P12 plan to the Cooper 1205 Senate plan

 appears to align the 1205 Senate plan more closely to the enacted Senate plan than

 to the Cooper P12 plan. In addition to the overall plan metrics in the chart above,




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                                                                                        D
the Core constituency report (Ex. 8) shows that the Cooper 1205 Senate plan has 21

districts that are exactly the same as the enacted Senate plan.

      18.    The Cooper 1205 Senate plan has 35 of 56 districts drawn differently,

but still has mean compactness scores close to the enacted plan, with the mean

compactness score on the Reock test higher and the mean compactness score on the

Polsby-Popper test lower.    The Cooper 1205 Senate plan changes 35 districts to

create four new Black-majority Senate districts.

      19.    Below is amap showing the Metro region with atheme of AP-Black %

on the voting districts, as well as maps of four districts in the Enacted Senate plan

and four districts in the Cooper 1205 Senate plan.




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                                                                 Metro
                                                             -   Voting Precincts




                          Jo5




                                                                             Map layers
                                                                             Voting District
                                                                             County
                                                                              %AP_Blk
                                                                         -   0.00% to 20.00%
                                                                             20.00% to 35.00%
                                                                             35.00% to 50.00%
                                                                             50.00% to 65.00%
                                                                             65.00% to 100.00%
                                                                         0    3.3    6.7     10




       20.   Voting districts themed in red have an AP-Black % of greater than 65%

 and voting districts themed in yellow have an AP-Black % of 50% to 65%. Voting

 districts themed in green have an AP-Black % of 35% to 50%; light blue have an

 AP-Black % of 20% to 35%; and darker blue have an AP-Black % of less than 20%.




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                               kl
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                                                                                 Map layers
                                                                                 Voting Di strict

                                                                             =
                                                                                %AP_BIk
                                                                             - 0.00%    20.00%
                                                                                        to
                                                                               20.00% to 35.00%



                                                                             :
                                                                                 35.00% to 50.00%
                                                                                 50.00% to 65.00%
                                                                                 65.00% to 100.50%
                                                                             0    3.3    6.7    10




      21.    Looking at four districts in the Metro area south of Atlanta, Senate

District 10 in the enacted plan is anchored in heavily Black southern DeKalb County

(Stonecrest area) and follows the western boundary of Henry County down to its

southern border with Spalding County. This district has aReock compactness score

of 0.28 and aPolsby-Popper compactness score of 0.23 and the district is 71.46%

 18+AP Black. It is comprised of parts of two counties and measures 25 miles from

north to south.




                                          10
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(

           22.    Senate District 44 in the enacted plan is anchored in heavily Black

     southern DeKalb County (Gresham Park area) and follows the eastern boundary of

     Clayton County including its southern "tail." This district has aReock compactness

     score of 0.18 and aPolsby-Popper compactness score of 0.19 and the district is

     71.3% 18+AP Black. It is comprised of parts of two counties and measures 20 miles

     from north to south.

           23.    Senate District 34 in the enacted plan is anchored in heavily Black

     northern Clayton County and combines with the northern portion of Fayette County

     and one voting precinct in Clayton County.    This district has aReock compactness

     score of 0.45 and aPolsby-Popper compactness score of 0.34 and the district is

     69.5% 18+AP Black. It is comprised of parts of three counties and measures 15

     miles from north to south.

           24.    Senate District 16 in the enacted plan is an ex-urban district that takes

     the balance of Fayette County and combines it with the whole counties of Spalding,

     Pike and Lamar to the south.    This district has aReock compactness score of 0.37

     and aPoisby-Popper compactness score of 0.31 and the district is 22.7% 18+AP

     Black. It is comprised of three whole counties as well as part of one county and

    measures 50 miles from north to south.




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                                                                                                         C
                                                         Coo.er 1205 Sen   -   SDs 10, 16, 28,34




                                                                                    Map layers
                                                                                    Voting District
                                                                                    county
                                                                                    0}strlcts,8
                                                                                     %AP_Blk
                                                                                - 0.00% to 2000%

                                                                                                         (
                                                                                U   20.00% to 35.00%
                                                                                    35.00% to 50.00%
                                                                                    50.00%   to 65.00%
                                                                                    65.00% to 100.00%
                                                                                0    3.3   6.7     10




      25.   By contrast, the Cooper 1205 Senate plan strategically cuts Clayton

County in three places to connect heavier concentration of Black voters with whiter,

more ex-urban population. The construction of Cooper 1205 SD 16 is anchored in

heavily Black northern Clayton County, strategically avoids the Black population in

the "tail" of southern Clayton County and stretches through Henry County to pick

up predominantly white portions of Spalding County.      This district has a Reock

 compactness score of 0.26, a Poisby-Popper compactness score of 0.19 and the




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 district is 56.5% 18+AP Black.      It is comprised of parts of three counties and

 measures 34 miles from north to south.

       26.     The construction of Cooper 1205 SD 10 is anchored in heavily Black

 southern DeKaib County, (Gresham Park area) and combines with northern Henry

 County.     This district has a Reock compactness score of 0.32, a Poisby-Popper

 compactness score of 0.25 and the district is 69.8% 18+AP Black. It is comprised

of parts of two counties and measures 22 miles from north to south.

       27.     The construction of Cooper 1205 SD 34 combines heavily Black Fulton

County with heavily Black northern Clayton County.        This district has aReock

compactness score of 0.56, aPolsby-Popper compactness score of 0.4 and the district

is 77.8% 18+AP Black. It is comprised of parts of two counties and measures 10

miles from north to south.

       28.     The construction of Cooper 1205 SD 28 combines heavily Black tail of

southern Clayton County with part of Fayette County and part of Spalding County.

The Cooper 1205 Senate plan strategically utilizes the Black population in these

three counties in SD 28.     Below is asummary chart of the Plan Component Report

(appendix) in this area.




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                                                                                                                        0
Chart 3: Cooper 1205— SDs 34, 16, 28, 39                        -    plan components

                                 District 034        District 016              District 028        District 039
                              Total               Total                     Total               Total
 COUNTY                       Pop.      AP Bik    Pop.      AP BIk          Pop.      AP Blk    Pop.      AP Bik
 Clayton         Total:       139632    100,905    84393    58,581           73570    56,865
                                         72.3%                   69.4%                 77.3%
                 Voting Age   102302    73,720     63302    43,544           54974    41,590
                                         72.1%                   68.8%                 75.7%
 Fayette         Total:                                                      74742    27,910     44452    4,166
                                                                                       37.3%                 9.4%
                 Voting Age                                                  58345    20,819     33453    2,909
                                                                                        35.7%                8.7%
 Spalding        Total:                            25726    7,534            41580    16,988
                                                                 29.3%                 40.9%
                 Voting Age                        20366    5,466            31757    12,045
                                                                 26.8%                  37.9%
 Fulton          Total:        52788    49,181
                                          93.2%
                 Voting Age    39253    36,464
                                          92.9%
 Coweta          Total:                                                                         146158    28,289
                                                                                                            19.4%
                 Voting Age                                                                     111155    20,196
                                                                                                            18.2%
 Henry           Total:                            79973    44,877
                                                                 56.1%
                 Voting Age                        59467    31,887
                                                                 53.6%
                 DISTRICT
                 TOTALS          District 034        District 016              District 028        District 039
                              192420    150,086   190092        110,992     189892    101,763   190610    32,455
                                          78.0%                  58.4%                  53.6%               17.0%
                              141555    110,184   143135        80,897      145076    74,454    144608    23,105
                                          77.8%                     56.5%               51.3%               16.0%




           29.       The Plan Component Report (Ex. 6) shows the Spalding County portion

 of Cooper 1205 SD 28 has apopulation of 41,580 and is 38% 18+ AP-Black. The

balance of Fayette County portion of SD 39 has apopulation of 44,452 and is 8.7%

 is 18+ AP-Black. Replacing the Spalding County portion of SD 28 with the balance

 of Fayette County would make Fayette County whole but would drop the 18+ AP-


                                                           14
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 Black below 50% to 44.5% 18+ AP-Black. The construction of Cooper 1205 Senate

 District 28 strategically bypasses Peachtree City in Fayette County, to ensure that

 the district remains slightly above 50% AP Black. SD 28 instead splits off Peachtree

 City in Fayette County to make room to include most of the Black population in

 Spalding County into SD 28, which is necessary to reach the 50% 18+ AP-Black.

 Cooper 1205 SD 28 has a Reock compactness score of 0.37, a Poisby-Popper

 compactness score of 0.18 and the district is 51.3% 18+AP Black. It is comprised

 of parts of three counties and measures 24 miles from north to south.

        30.   Looking at specific districts (as above) demonstrates the racial focus of

the Cooper 1205 plan in this area.       The Black percentage is lowered only by

 elongating the district to include lower concentrations of Black population.     This

 allows the Black population to be redistributed and to create other majority Black

 districts.

        31.   Below is amap showing Augusta and the East Central region with a

theme of AP-Black % on the counties.        The map shows that Richmond County

 (Augusta) has amajority of AP-Black population. At over 200,000 in population,

Richmond County has more than enough population for aSenate district. The map

also shows some majority AP-Black population counties, which are not very




                                          15
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                                                                                                                                                                                     0
populous, to the west of Augusta                                                -      Washington, Jefferson, Hancock, Warren and

Taliaferro.


                            14,825                                                             Unoln
   41,799                   16.65%                                                              7,690                 Augusta & east central area
   5.45%                                                                                       28.76%
                                                             Mikes                                                    Counties with population and AP Black %
                                                                                                                                   -




                                                             9,565
                                                            41,70%


                       18,915
                       31.86%                                                       Matr,e
                                                                                     21,632                Columbia
   Mn                                                                               41.81%                  156,010
   20,097                                                                                                   70.84%
   21.59%
                                                                                                                                                                  Map layers
                                                                                                                                                                  County
                                                                 W&rell
                                                                                                                                                                   %AP_BIk
                                                                  5,715
                                                                 59,98%                                                                                           0.00% to 20,00%
                                                                                                                       Richmond                                ;20.00% 1035,00%
       Potnn                                                                                                            206,607                                   35.00% to 00,00%
       22,047                                                                                                           58,07%
                                                                                                                                                                  50.00% to 65,00%
       75.06%
                                     9anconk                                                                                                                   J68.00% to 100.00%
                                      0,735
                                                                     Glasnost                                                                              0       8       10   15
                                     70,19%
                                                                       2,884
                                                                      7,84%




             Baldwin                                                                          30ffersos                                 Bs6
             43,799                                                                            15,709                                  24,596
             43.35%                                                                            52,25%                                  46.47%

                                                    Washington
                                                      19,988
                                                      54.88%




                                                                                                                                   )enkas
                       W900000                                                                                                      8,674
                         8,877                                                                                                     41.94%
                        37.51%


                                                                                                                                                         14,067
                                                                      9,189                                                                              3929%
                                                                     34.00%
    Tw,900
     0,022                                                                                                Emanuel
    40.21%                                laurenS                                                          22,768
                                          49,570                                                          33.19%
                                          38.60%

                                                                                                                                                0000ch
             12,583                                                                                                       10,981
                                                                                                                                                81,099
             23.45%                                                 _i                           'O2JUPER                 25.56%
                                                                                                                                                30.06%




             32.            A similarly themed map on the voting districts shows concentrations of

 Black population in the region.




                                                                                                   16
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                                                              Augusta & East Central area
                                                              Voting Precincts




                                                                             Map layers
                                                                             Voting Distri
                                                                                         ct
                                                                         C:5County
                                                                              %AP_BIk
                                                                             000% to 2000%
                                                                             20.00% to 35.00%
                                                                             35.00% to 50.00%
                                                                             50.00% to 65.00%
                                                                             60.00% to 100.00%



                                                                                MI            I




       33.   Senate District 22 in the enacted plan is drawn entirely within

 Richmond County. Enacted Senate District 22 has aReock compactness score of

 0.41 and aPolsby-Popper compactness score of 0.29 and the district is 56.5% 18+AP

 Black. In the enacted plan, the balance of Richmond County is placed in Senate

 District 23 along with a portion of Columbia County and nine whole counties.

 Enacted Senate District 23 has aReock compactness score of 0.37 and aPolsby-

 Popper compactness score of 0.16 and the district is 35.48% 18+AP Black.




                                        17
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                                                                        Enacted Sen   -   SDs 22 &23




        Map layers
    = Voting District
    L.; Coonty
        Districts :2
         %AP_BIk
        0.00% to 20.00%
      ]20.00% to 35.00%
        35.00% to 50.00%
        50.00% to 65.O0
        65.00% to 100.00
    0     5    10     tO

            Mu..




        34.             In order to change the racial makeup of Senate Districts 22 and 23, the

Cooper 1205 Senate plan pushes part of SD 22 out of Richmond County into

McDuffie, Warren and Glascock counties, taking in their combined 40% Black

population, which is relatively high in that area. The plan strategically utilizes the

Black population in those counties, selecting higher concentration AP-Black

population in order to keep SD 22 above 50% 18+AP Black population. By moving




                                                    18
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(


     SD 22 into in those counties, stronger concentrations of Black population in

     Richmond County can be transferred into Senate District 23.


                 0.



                                                               Cooper 1205 Sen   -   SDs 22 & 23




                                                                                     Map layers
                                                                                     Voting District
                                                                             J Coonty

                                                                                      %AP_Blk
                                                                            - 0.00% to 20.00%
                                                                                     20.00% to 35.00%
                                                                                     35.00% to $0.00%
                                                                                     50.00% to 65.00%
                                                                            E        65.00% to 100 .00%
                                                                            0          5     10    15
                                                                            -                 -
                                                                                        Milea




          35.   The construction of Senate District 23 in the Cooper 1205 Senate plan

    splits Wilkes County, taking substantially Black population into the district, and

    excluding the predominantly white population (Ex. 6.) Senate District 23 connects

    separate enclaves of Black population, including Milledgeville in Baldwin County,




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which measures more than 100 miles away from the eastern part of the district in


Augusta.

         36.   The chart below compares the split counties in both the Enacted Senate

and Cooper 1205 Senate plans as well as some demographic data for those counties.


The enacted Senate plan splits 29 counties and the Cooper 1205 Senate plan splits


28 counties. Both plans split the same 24 counties.

 Chart 4: County splits Enacted Sen vs Cooper Sen 1205

                                                                       18+                 Split in
                                        AP                             AP       Split in   Cooper

                                        Bik      18+        18+ AP     Bik      Enacted     Sen
                                                 Pop        Bik        %          Sen       1205
 County        Population    AP Bik     %
 Barrow            83,505     11,907    14.3%     62,195      8,222    13.2%       X
 Bartow
                  108,901     13,395    12.3%     83,570      9,377    11.2%       X                  (
 Bibb             157,346     88,865    56.5%    120,902     64,270    53.2%       X
  Chatham         295,291    115,458    39.1%    234,715     85,178    36.3%       X
  Cherokee        266,620     21,687     8.1%    202,928     14,976     7.4%       X
  Clayton         297,595    216,351    72.7%    220,578    158,854    72.0%       X
  Cobb            766,149    223,116    29.1%    591,848    166,141    28.1%       X
  DeKalb          764,382    407,451    53.3%    595,276    314,230    52.8%       X
  Douglas         144,237     74,260    51.5%    108,428     53,377    49.2%       X

  Fayette         119,194     32,076    26.9%     91,798     23,728    25.8%       X

  Floyd            98,584     15,606    15.8%     76,295     11,064    14.5%       X
  Forsyth         251,283     13,222     5.3%    181,193      8,751     4.8%       X

  Fulton         1,066,710   477,624    44 .
                                           8%    847,182'   368,635    43.5%       X
  Gordon            57,544     2,919     5.1%     43,500      1,939     4.5%       X

  Gwinnett        957,062    287,687    30.1%    709,484    202,762    28.6%        X
  Hall            203,136      17,006    8.4%    153,844     12,094     7.9%        X
  Henry           240,712     125,211   52.0%    179,973     89,657    49.8%        X

  Houston          163,633     56,520   34.5%    122,118     39,605    32.4%        X
  Muscogee         206,922    102,212   49.4%    157,052     74,301    47.3%        X

  Paulding         168,661     41,296    24.5%    123,998    28,164     22.7%       X
  Richmond         206,607    119,970    58.1%    160,899     87,930    54.6%       X
                    96,673     18,804    19.5%     73,098     13,165    18.0%       X
  Walton



                                                  20
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                                                                     18+                Split in
                                       AP                            AP      Split in   Cooper
                                       Blk     18+       18+ AP      Blk     Enacted      Sen
  County        Population   AP Blk    %       Pop       Blk         %         Sen       1205
  Ware              36,251    11,421   31.5%   27,788      8,226     29.6%      X          X
  White             28,003      721     2.6%   22,482          484    2.2%      X          X
  Clarke           128,671    33,672   26.2%   106,830    24,776     23.2%      X
  Coffee            43,092    12,575   29.2%   32,419      9,191     28.4%      X
  Columbia         156,010    32,516   20.8%   114,823    22,273     19.4%      X
  Jackson           75,907     6,148    8.1%   56,451      4,268      7.6%      X
 Newton            112,483    55,901   49.7%   84,748    40,433      47.7%      X
  Monroe            27,957     6,444   23.0%   21,913      5,068     23.1%                X
  Rockdale          93,570   57,204    61.1%   71,503    41,935      58.6%                X
  Spalding          67,306   24,522    36.4%   52,123     17,511     33.6%                X
 Wilkes              9,565     3,989   41.7%     7,651     3,071     40.1%                X
  TOTAL                                                                        29         28




          37.   In comparison to the Enacted Senate plan, the Cooper 1205 Senate plan

makes five counties whole (Clarke, Coffee, Columbia, Jackson, and Newton

counties) and introduces four new county splits (Monroe, Rockdale, Spalding, and

Wilkes counties).

          38.   The four new county splits are attributable to the effort to create new

Black majority seats in the Cooper 1205 Senate plan.             The Plan Component report

in the (Ex. 6) shows the population and select demographic data for each county

portion in adistrict. While Newton County is made whole in the Cooper 1205 Senate

plan, it is then necessary to split Rockdale County to allow Cooper 1205 SD 17 to

transit through Rockdale County to connect to population in Henry County.

 Spalding County is split such that the two-thirds of the 18+ AP-Black population in


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                                                                                               0
Spalding County is placed in Cooper 1205 SD 28, keeping the % 18+ AP-Black

population above 50%. Monroe County is split as aresult of taking Baldwin County

out of the principal district in the area (Enacted SD 25 ICooper 1205 SD 44). While

Columbia County is made whole in the Cooper 1205 Senate plan, Wilkes County is

split such that the portion in Cooper 1205 SD 23 is 70% 18+ AP-Black and the

portion out of Cooper 1205 SD 23 is 25% 18+ AP-Black, amove that significantly

contributes to keeping district barely above 50% 18+ AP-Black.

       39.    In the Cooper 1205 Senate plan, adjustments are made to the district

boundaries to unsplit counties in areas of the state with less minority population to


keep the total number of splits similar to the enacted Senate plan.
                                                                                               (\

       40.    Based on my analysis of the Cooper 1205 Senate plan, the impact of

 engineering more majority Black districts can be seen in the overall plan metrics and

the differences from the enacted plan.

       41.    Further,   my    analysis   of the   traditional   redistricting   factors   -




 maintaining communities and traditional boundaries, compactness, and deviation            -




 along with the manipulation of the boundaries of the new AP-Black districts,

 supports my opinion that the Cooper 1205 Senate plan is focused on race, prioritizing

 race to the detriment of traditional redistricting factors.




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                                 State House Plan Analysis

           42.    Using the Population summary reports, Itallied the number of majority-

    Black districts using any-part Black voting age population for each House plan. The

     chart below shows the total number of majority-Black districts in the 2021 adopted

    House plan, the Cooper 1205 House plan and the Cooper P12 House plan, as well as

    the number of districts in the percentage ranges using the any-part Black voting age

    population.

    Chart 5: Number of Majority-Black House Districts

                              Majority-Black House Districts

                                 2021 Adopted     APA Cooper          Cooper
            % AP Black YAP           Plan          Illustrative    Illustrative2
                                                       1205             P1
           Over 75%                    2                1                5
           70%to75%                    9                7                4
           65%to70%                    7                8                5
           60%to65%                     8               9               7
           55%to60%                    11               12              15
           52%to55%                    10               13              5
           50%to52%                    2                4               13

           Total #Districts            49               54              54



           43.    The 2021 adopted House plan includes 49 majority-Black districts, the

    Cooper 1205 House plan includes 54 majority-Black districts, and the Cooper P12

    House plan has 54 majority-Black districts.



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                                                                                          0
        44.   The Core Constituency report comparing the Cooper House 1205 plan

to the Cooper House P12 plan (Ex. 14) shows that there are changes affecting many

districts. The House plan drafted by Mr. Cooper (1205) has only two districts (HD

003 and HD 154) out of 180 that are exactly the same as the plan submitted

previously for the preliminary injunction hearing in this case (Cooper House P12).

Including RD 003 and HD 154, there are only 16 out of 180 districts that share over

90% of the same territory as adistrict in the Cooper P12 House plan and only 32

districts out of 180 that share over 80% of the same territory as a district in the

Cooper P12 House plan.     There are many differences between the Cooper 1205

House plan and the Cooper P12 House plan             but even with all the changes, one
                                                                                          (
                                                 -




result is that the stays the same   -   the new Cooper 1205 House plan has the same

number of majority-Black districts as the Cooper P12 House plan.

        45.   Looking more closely at the Cooper 1205 House plan, below is achart

that summarizes top-line statistics about the plan and compares them to the enacted

plan.




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 Chart 6: Cooper 1205 House and Enacted House Plan comparisons

                              Cooper          Enacted
 Plan metrics               House 1205         House
 County splits                  68               69
 Voting precinct splits         193              184
 Mean compactness    -




 Reock                          0.39            0.39
 Mean compactness    -




 Poisby Popper                  0.27            0.28
 #Paired incumbents              25              20
 # Seats majority
 18+ AP B1k%                     54              49
 Deviation relative          -1.49% to        -1.40% to
 range                         1.49%            1.34%
 Deviation overall range       2.98%           2.74%



      46.    The Cooper 1205 House plan uses a deviation range that is slightly

larger in range than the 2021 Enacted House plan.

      47.    The mean compactness scores on the Cooper 1205 House plan and the

2021 enacted House plan are similar.     The Cooper 1205 House plan changes 93

districts from the enacted plan to create five new Black-majority house districts. The

chart below shows the compactness scores of the newly created majority-Black

districts which Mr. Cooper identified in his report and the compactness scores of the

corresponding district number in the 2021 adopted plans.




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Chart 7: Compactness score summary

  New Black-         Enacted        Cooper 1205       Enacted           Cooper
   Majority            Plan             Plan        Plan Polsby-       1205Plan
    District          Reock            Reock          Popper            Poisby-
                                                                        Popper
 House 74                0.5             0.63            0.25            0.36
 House 117              0.41             0.41            0.28            0.26
 House 133              0.55             0.26            0.42             0.2
 House 145              0.38             0.25            0.19            0.22
 House 171              0.35             0.28            0.37             0.2



      48.    Below is amap showing the Metro region with atheme of AP-Black %

on the voting districts, as well as maps of agroup of house districts in the Enacted

House and the Cooper 1205 House plan.




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                                                                                   Map layers
                                                                                   Voting District
                                                                           L County
                                                                                    %AP_BIk
                                                                                   0.00% to 20.00%


                                                                           -
                                                                           1420.00% to 30.00%
                                                                              30.00% to 50.00%


                                                                           - 65.00% to 000.00%
                                                                             00,00% 1000.00%
                                                                               -




                                                                                   Other
                                                                           0        3.3    6.7       10




           49.    As shown in the Senate plan analysis, the voting districts themed in red

     have an AP-Black % of greater than 65% and voting districts themed in yellow have

     an AP-Black % of 50% to 65%. Voting districts themed in green have an AP-Black

     % of 35% to 50%; light blue have an AP-Black % of 20% to 35%; and darker blue

    have an AP-Black % of less than 20%.

           50.    Looking at specific districts will show that the compactness of the

     districts is impacted by the efforts to create more majority Black districts. The Black




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percentage is lowered only by elongating the district to include lower concentrations

of Black population. This allows the Black population to be redistributed and to


create other majority Black districts.

      51.    In the enacted House plan, House District 77 is entirely within Clayton

County, in the heavily Black northern part of the county. Enacted House District 69

is anchored in heavily Black southern Fulton County and includes northeast and

central Fayette County, which the Plan Component Report (Ex. 13) shows is 47%

 18+ AP-Black. Enacted House District 73 is centered on Peachtree City in Fayette

County and includes part of Coweta County to the west.




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                                                                         Map layers
                                                                         Voting District
                                                                         Cohnty
                                                                     -
                                                                        %AP_BIk
                                                                     - 0.00% to 20.00%
                                                                         20.00% to 30.00%
                                                                         30.00% to 00.00%
                                                                         00.00% to 65.00%
                                                                         00.00% to 100.00%
                                                                         Other
                                                                    0    3.3     6.7      10




       52.   Enacted House District 74 is comprised of southern Fayette County,

 eastern Spalding and two voting precincts of Henry County.

       53.   In the Cooper 1205 House plan, the engineering of a new majority

Black district is accomplished by elongating the districts to connect to Clayton and

Fulton counties to more white areas of Fayette and Spalding Counties.




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                                                                                                                             -


                                                                                                                                 J

                                                                                                   Walton

                                                          APA-Coo er Illustrative

                                                        k J       T
                                                              I       ..k4J
                                                              j   ..-Rockdale



                                         Clayton                           fT
                                                                         7      jIi

                                                                  05 /




                            Fay 6ttee




                Coweta



                                                                           Butts

                                                                                                     Map layers
                                                                                               ETI Votin gDistrict
      L. 7.
                                                                                                     Diat,1ctr2
                                                                                                      %AP_Blk
  3                            5
                                                                                               - 0.00% to 20.00%
                              I                                                                      20.00% to 35.00%
                                                                                                     35.00% to 50.00%
               Moriwétl
                                                                                                     50.00% to 65.06%
  \                                                                                                  65.00% to 100.00%




                                                                                      Monroe
                                                                                               0
                                                                                               0
                                                                                                     Other
                                                                                                     3.3     6.7        10
                                                                                                                             (
                                         j

                                j'




         54.       Cooper 1205 House District 69 is anchored in heavily Black southern

Fulton County and follows a narrow path through central Fayette County to

Peachtree City, which the Plan Component Report (Ex. 13) shows is only 34% 18+

AP-Black.          By elongating the district and connecting with more distant white

population, the 18+ AP-Black is lowered, and Black population can be strategically

used in districts elsewhere. Cooper 1205 House District 77 takes asimilar narrow

path through Fayette County, connecting the predominantly white population which




                                                   30
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 the Plan Component Report (Ex. 13) shows is only 36% 18+ AP-Black to heavily

 Black Clayton County. These two elongated districts absorb white population and

 displace the area of enacted HD 74. The Cooper 1205 District 74 takes the "tail" of

 heavily Black southern Clayton County combining it with two Henry County voting

 precincts and two Spalding County voting precincts.

        55.     The data in the chart below shows that the configuration of these four

 districts in the Cooper House plan lowers the mean compactness score as compared

 with the configuration of the districts in the Enacted House plan.

 Chart 8: Compactness scores in four House districts

                            Enacted House                       Cooper House 1205
                                               %18+                                 %18+
                   %                 Poisby-            %       Reock               AP
  District                  Reock              AP                        Poisby-
                   Devn.             Popper             Devn.            Popper
                                               Bik                                  Bik
  069               -1.39    0.23       0.17   63.56%    1.49      0.4       0.25   54.97%
  073                0.88    0.27       0.18   12.11%    1.14     0.28        0.2   11.29%
  074               -0.93    0.63       0.36   25.52%    0.78      0.5       0.25   61.49%
  077               -0.45    0.19       0.18   76.13%   -1.29      0.4       0.21   66.26%


  Mean
                             0.40       0.23                      0.33       0.22
  Compactness




        56.     Spalding County has apopulation of 67,306 and is 33.6% 18+ AP-

Black. The population of Spalding County is about 13% more than the population

of a House district (59,5 11).        The 18+ AP-Black population is not sufficiently

numerous to create district that is over 50% 18+ AP-Black within Spalding County.



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The Plan Component report (Ex. 13) shows that in the Cooper 1205 House plan splits

Spalding County such that the high concentrations of Black population is included

in HD 117, and predominantly white population is excluded from HD 117. Having

separated the Black population in Griffin from the rest of Spalding County, the

district then connects to two populous majority-Black voting precincts in Henry

County to yield adistrict that is 54.64% 18+ AP-Black.

      57.   Below is amap showing Augusta and the East Central region with a

theme of AP-Black % on the voting districts.




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                                                                                East Central
                                                                                voting precincts




                                            hn,nnd'.?




                                                                                          Map layers
                                                                                          Voting District
                                                                                          County
             olockl.y                                                 '•2                  %AP_BIk
                                                                                      - 0.00% to 20.00%
                                                                                          20.00% to 35.00%
                                                                                          35.00% to 50.00%
                                                                                          50.00% to 65.00%
                                                                                      - 65.00% to 100.00%
                                                                                      L   Other
                                                                                  0        10      20        30




       58.         Looking at the ten districts in this region, the enacted plan has five

majority 18+AP Black districts in this region. Two majority-Black districts (HDs

 129 and 130) are entirely within Richmond County. Two additional majority-Black

 districts are HD 132, which includes all of Jefferson County as well as aportion of

Richmond County and HD 126, which includes all of Jenkins and Burke counties as

well as aportion of Richmond County.                    The fifth majority-Black district in the

enacted plan in this region is HD 128, which includes all of Washington, Hancock,




                                                33
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Warren and Glascock counties as well as portions of McDuffie and Baldwin


counties.



                                             Enacted 2021
                                             HDs 123, 124, 126, 128, 129, 130, 132, 133, 144, 155




                                                                                      Map layers
                                                                                      Voting District
                                                                                 e...: County
                                                                                       Di,t,lctr2
                                                                                       %AP_Blk
                                                                                 - 0.00% to 20.00%
                                                                                   20.00% to 35.00%
                                                                                 - 35.00% to 50.00%
                                                                                 - 66.00% to 100.00%
                                                                                   00.00% to 65,00%


                                                                                      Other
                                                                                0      10         20    30

                                                                                          Mile,




       59.   In order to create an additional majority 18+AP-Black district in this

 area, the Cooper 1205 House plan fractures seven rural counties: Screven, Burke,

Jefferson, Johnson, Laurens, Oglethorpe and Wilkes. In the Cooper 1205 plan, HD

 126 is anchored in heavily Black areas of Richmond County then combines all of

 Glascock County with fragments of Jefferson, Burke and Screven counties. District




                                        34
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 126 has four split counties, which is the highest number split counties in asingle

 district in the Cooper 1205 House plan. The Plan Component report (Ex. 13) shows

 that Screven County is split such that the high concentrations of Black population is

 included in HD126, and predominantly white population is excluded. By including

 the additional Black population from the Screven County fragment, HD 126 can split

 off Black population from Burke and Jefferson counties to use those fragments in

 another district.


                                                                       APA-Cooper Illustrative (1205)
                                                                       HDs 123, 124, 126, 128, 129, 130, 132, 133, 144, 155




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      60.    The Cooper 1205 House plan breaks apart the established majority-

Black HD 128 in the enacted plan.       The Cooper 1205 House plan strategically

utilizes the Black population in the split county fragments of Burke, Jefferson, and

Johnson, spinning one district (HD 128) to the south to pick-up Black population

from Dublin out of Laurens County.        The resulting new HD 128 has four split

counties, which is the highest number of split counties in a single district in the

Cooper 1205 plan.

      61.    Another district (HD 133) sprawls to the north to pick-up Black

population from Milledgeville out of Baldwin County and connect it to another split

county, Wilkes County, which makes the district stretch 90 miles from South to

North. The Plan Component Report (Ex. 13) shows that Wilkes County is split such

that the Black population is sorted into HD 133 and the white population is sorted

into HD 123. Introducing the split of Wilkes County in HD 133, makes adjacent

HD 123 also split another county, Oglethorpe County.        By introducing two new

county splits into HD123, it also has four split counties, the highest of number split

counties in the Cooper 1205 plan. (The only other district in the Cooper 1205 plan

to have four split counties is HD 002 in Northwest Georgia.)

      62.    In the Cooper 1205 plan, HD 133 has the most split voting precincts of

any district in the plan, at nine split voting precincts. The split voting precincts in



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     Baldwin              County         sort the population   along racial   lines,   such that higher

     concentrations of Black population are included in HD 133 and lower concentrations

     are outside the district.

              63.                Below is amap showing Southwest Georgia region with atheme of AP-

     Black % on the voting districts.




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       64.              Of the six districts in this region, the enacted plan has two majority

18+AP Black districts. One district is entirely within Dougherty County. Another

combines part of Dougherty County with eight whole counties to the west, including

three counties which are majority-18+AP Black and three more which are over 40%

18+AP Black.


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                                                          Enacted 2021 -HDs 151, 152, 153, 154. 17i,1711,,




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        65.             In order to create an additional majority 18+AP-Black district in the

 Southwest region, the Cooper 1205 House plan splits Colquitt and Lee counties and.




                                                   38
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 strategically utilizes Black population in Albany to connect to distant enclaves of

 additional Black population, such as Thomasville in Thomas County.




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          66.           Thomas County has a population of 45,798 and is 35.2% 18+ AP-

 Black.      Thomas County up about three-quarters of a House district (ideal HD                                                 =




 59,511). The 18+ AP-Black population is not sufficiently numerous to create district

 that is over 50% 18+ AP-Black that includes all of Thomas County.                                                Combining




                                                        39
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Thomas County with additional adjacent population will not yield amajority Black

district.   The Plan Component Report (Ex. 13) shows that the Cooper 1205 plan

splits Thomas County, separating the Black population from the white population,

assigning the Black population to HD 171. This district 171 then connects over 50

miles north to combine with the Black population from Albany in Dougherty

County.

        67.    As the above analysis demonstrate, the compactness of the districts is

impacted by the efforts to create more majority Black districts.          The Black

percentage is lowered only by elongating the district to include lower concentrations

of Black population. This allows the Black population to be redistributed and to

create other majority Black districts.

        68.    Below is amap showing the Northwest Georgia region with atheme of

AP-Black % on the voting districts, as well as maps of agroup of 10 house districts

(1-6, and 12-15) in the Enacted House and the Cooper 1205 House plan.




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                                                                Northwest Georgia
                                                                Votin. Precincts




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       69.    The map shows that this geographic area has very little Black

population.

       70.    In the both the enacted House plan and the Cooper 1205 House plan,

 Districts 1-6 and 12-15 are in Northwest Georgia comprised of Dade, Walker,

 Catoosa, Whitfield, Murray, Chattooga, Floyd, Gordon, and Bartow counties as well

 as three voting precincts of Cherokee County. In the enacted plan, Gordon County




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is split between HD 004 and HD 005, but Gordon County is not split in the Cooper

1205 House plan.



                                                            Enacted House- HDs 1-6, and 12-15




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      71.    As agroup, these 10 districts cover the same geographic area in both

plans, but the internal district boundaries are different. The treatment of the districts

in this area looks similar, but there are subtle differences.




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                                                      APA-Coo.er Illustrative 1205 HDs 1-6. and 12-15




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           72.   The districts in the Cooper 1205 House plan are drawn in such away

    that there are only three split voting precincts (including one affecting zero

    population) and Gordon County is made whole.

           73.   The Political Subdivision Splits report (Ex. 12) shows the split voting

    precincts in the Cooper 1205 House plan and the Enacted House plan. The chart

    below shows summarizes the split voting precincts in this Northwest region of 10

     districts for the Enacted House plan and the Cooper 1205 House plan. The districts




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in this area do not have any majority Black districts, nor do they overlap with any

areas containing majority Black districts.

Chart 9: Split comparisons in Northwest Georgia

                                      Enacted House           Cooper House 1205
 County        Voting District     District Population       District Population
 Whitfield     2A                  002            3864             Not Split
 Whitfield     PLEASANT GROVE      002               6210          Not Split
 Whitfield     2A                  004               1000          Not Split
 Whitfield     PLEASANT GROVE      006               2122          Not Split
 Whitfield     VARNELL                   Not Split           004               7389
 Whitfield     VARNELL                   Not Split           006                712
 Floyd         ALTO PARK           012               1576          Not Split
 Floyd         MT ALTO NORTH       012               1080          Not Split
 Floyd         ALTO PARK           013               3847          Not Split
 Floyd         MT ALTO NORTH       013                4509         Not Split
 Bartow        CASSVILLE           014               15558   014               15581
 Bartow        WHITE               014               3335    014                3546
 Bartow
 Bartow
               CASSVILLE
               WHITE
                                   015
                                   015
                                                     1047
                                                      211
                                                             015
                                                             015
                                                                                1024
                                                                                   0
                                                                                                 (
 Gordon                            005               53738         Not Split
 Gordon                            006                3806         Not Split


 TOTALS                            6split vtds               2split vtds
                                   0(no pop) split vtd       1(no pop) split vtd


                                   1split county             0split counties




         74.    The enacted House plan splits six voting precincts and one county in

this region, while the Cooper 1205 House plan splits only three voting precincts and

no counties in this region. Rather than draw these 10 districts the same as the enacted

House plan, the Cooper 1205 House plan makes many changes in this area such that




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 the number of overall county and voting precinct splits is reduced. In the Cooper

 1205 House plan, there is apattern of making adjustments to the district boundaries

 to unsplit counties and unsplit voting precincts in areas of the state with little

 minority population, such that the net effect is to keep the total number of splits

 similar to the enacted House plan. Making these changes in areas of the state with

 little minority population masks the differences between the enacted plan and the

 Cooper 1205 plan.

           75.   The chart below compares the split counties in both the Enacted House

 and Cooper 1205 House plans as well as some demographic data for those counties.

 The enacted House plan splits 69 counties and the Cooper 1205 Senate plan splits

 68 counties. Both plans split the same 58 counties.

 Chart 10: County splits Enacted RD vs APA Cooper 1205


                                                                     18+                Split in
                                         AP                          AP      Split in   Cooper
                                         Bik     18+       18+ AP    Bik     Enacted    House
 Name             Population   AP BIk    %       Pop       Bik       %        louse      1205
 Baldwin              43,799    18,985   43.3%    35,732    14,515   40.6%      x          x
 Barrow               83,505    11,907   14.3%    62,195     8,222   13.2%      x          x
 Bartow              108,901    13,395   12.3%    83,570     9,377   11.2%      x          x
 Bibb                157,346    88,865   56.5%   120,902   64,270    53.2%      x          x
 Bryan                44,738     7,463   16.7%    31,828     5,025   15.8%      x          x
 Bulloch              81,099    24,375   30.1%    64,494    18,220   28.3%      x          x
 Carroll             119,148    24,618   20.7%    90,996    17,827   19.6%      x          x
 Catoosa              67,872     2,642    3.9%    52,448     1,684    3.2%      x          x
 Chatham            295,291    115,458   39.1%   234,715    85,178   36.3%      x          x
 Cherokee           266,620    21,687     8.1%   202,928    14,976    7.4%      x          x
 Clarke              128,671    33,672   26.2%   106,830   24,776    23.2%      x          x



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